Case 2:22-cv-00004¢NyiKy, C@gypge tse g 01/03/22 Page 1 of 14

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Kevin D. Dykes County of Chester & Deborah Ryan, District Attorney

JS 44 (Rev. 10/20)

(b) County of Residence of First Listed Plaintiff Chester

(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant Chester

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

(c) Attorneys (Firm Name, Address, and Telephone Number)
Dolores M. Troiani, Esq., Troiani & Gibney, L.L.P.
1273 Lancaster Ave., Berwyn, PA 19312; (610) 688-8400

Attorneys (If Known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an “x” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
[]1 U.S. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 1 1 Incorporated or Principal Place C] 4 CL 4
of Business In This State
| 2 U.S. Government | 4 Diversity Citizen of Another State CT] 2 | 2 Incorporated and Principal Place C] 5 OC 5
Defendant (Indicate Citizenship of Parties in Item I]) of Business In Another State
Citizen or Subject of a CL] 3 CL] 3 Foreign Nation C] 6 CT 6
Foreign Country
IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY P1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane | 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability Be Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability CO 367 Health Care/ 400 State Reapportionment
oO 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability C] 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
CT] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud |_|710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
[| 190 Other Contract Product Liability L] 380 Other Personal | 1720 Labor/Management SOCIAL SECURITY __ Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury CL] 385 Property Damage 4" Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI | 890 Other Statutory Actions
REAL PROPERTY © CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation | 865 RSI (405(g)) | 891 Agricultural Acts
|_| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement |_| 893 Environmental Matters
[ | 220 Foreclosure 441 Voting 463 Alien Detaince Income Security Act __ FEDERAL TAX SUITS 895 Frecdom of Information
230 Rent Lease & Ejectment x| 442 Employment 510 Motions to Vacate T | 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations T | 530 General Hl 871 IRS—Third Party 899 Administrative Procedure
[| 290 All Other Real Property 445 Amer. w/Disabilitics -[__] 535 Death Penalty [a IMMIGRATION. | 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

1 Original
i Proceeding

VI. CAUSE OF ACTION

mg Removed from
State Court

3

Title VII

 

Remanded from
Appellate Court

Brief description of cause:
Plaintiff subject to adverse employment action due to his race

LI4 Reinstated or CI 5 Transferred from

Reopened Another

(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

District Litigation

Transfer

6 Multidistrict

8 Multidistrict
Litigation -
Direct File

 

 

 

 

 

VII. REQUESTED IN (_] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. Over $150,000 + other JURY DEMAND: []yes [No
VIL. RELATED CASE(S)

(See instructions):
IF ANY NIA JUDGE DOCKET NUMBER
} Z
DATE SIGNATURE OFATTORNEY OF REC -
January 3, 2022 nN 1.
FOR OFFICE USE ONLY / " i
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 2:22-cv-00004-MAK Document1 Filed 01/03/22 Page 2 of 14

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

. DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: 281 Cherry Lane, Kennett Square, PA 19348

 

AddwsoufDeendace 313 West Market St., West Chester PA; 201 W. Market St., West Chester, PA

 

Place of Accident, Incident or Transaction: Chester County, PA

 

 

RELATED CASE, IF ANY:
Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [ | No| /]
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ | No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ | No

case filed by the same individual?

I certify that, to my knowledge, the within case [J is / [) is pot related to any case now pending or within one year previously terminated action in
this court except as noted above. o>

pare, 01/03/2022 LOT 21283

ust sign here
Athorney-at-Law / Pro Se Plaintiff Attorney I.D. # (if applicable)

 

 

CIVIL: (Place a V in one category only)
Federal Question Cases: Diversity Jurisdiction Cases:

Indemnity Contract, Marine Contract, and All Other Contracts Insurance Contract and Other Contracts

FELA Airplane Personal Injury

Jones Act-Personal Injury Assault, Defamation

Antitrust Marine Personal Injury

Patent Motor Vehicle Personal Injury
Labor-Management Relations Other Personal Injury (Please specify):
Civil Rights Products Liability

Habeas Corpus Products Liability — Asbestos
Securities Act(s) Cases . All other Diversity Cases
Social Security Review Cases (Please specify):

OOOOOOOOO

 

OOOOSOOOOOO =

All other Federal Question Cases
(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

,, Dolores M. Troiani, Esquire

, counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[ | Relief other than monetary damages is sought. - .
DATE: 01/03/2022 Signfhere bo pry | du 21 283

Attorney-at-Law / Pro Se Plaintiff Attorney I.D. # (if applicable)

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)

 
Case 2:22-cv-00004-MAK Document1 Filed 01/03/22 Page 3 of 14

TROIANI & GIBNEY, L.L.P. Attorneys for Plaintiff
By: Dolores M. Troiani, Esquire

Attorney I.D. #21283

1273 Lancaster Avenue

Berwyn, PA 19312

(610) 688-8400

 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KEVIN D. DYKES : CIVIL ACTION
Vv. NO: Q: 22-cv-4
COUNTY OF CHESTER
and
DEBORAH RYAN :
District Attorney : JURY TRIAL DEMANDED
COMPLAINT

AND NOW, COMES the Plaintiff, Kevin D. Dykes, by and through his counsel, Troiani
& Gibney, L.L.P. and files this Complaint in the above-referenced action alleging the following:

The Plaintiff is Kevin D. Dykes, who suffered adverse employment actions including
termination from his employment as Chief County Detective of the Chester County District
Attorney’s Office due to his race and retaliation for asserting his Constitutionally protected
rights. Plaintiff, by his attorneys, Troiani & Gibney, L.L.P., claims of Defendants a sum in

excess of $150,000.00, and in support thereof states the following:

The Parties
1. Plaintiff, Kevin D. Dykes is an African American individual and citizen of the
Commonwealth of Pennsylvania residing at 281 Cherry Lane, Kennett Square,

Pennsylvania.
Case 2:22-cv-00004-MAK Document1 Filed 01/03/22 Page 4 of 14

2. Defendant, County of Chester, is a governmental entity operating under the
laws of the Commonwealth of Pennsylvania, with a principal place of business at 313 West
Market Street, West Chester, PA. At all times material hereto, Chester County was an
employer as defined by the, Title VII of the Civil Rights Act of 1964 as amended 42 U.S.C.
2000 e (b), and the Pennsylvania Human Relations Act, 43 P.S. §§ 951 et seq.

3. Defendant, Deborah Ryan, is the District Attorney of Chester County, with a
principal place of business at 201 West Market Street, West Chester, PA. At all times
material hereto, the District Attorney was an employer as defined by the, Title VI of the
Civil Rights Act of 1964 as amended 42 U.S.C. 2000 e (b), and the Pennsylvania Human
Relations Act, (PHRA) ,43 P.S. §§ 951 et seq Relations Act, 43 P.S. §§ 951 et seq.

4. At all times material hereto, defendants acted through their agents, servants,
and employees, who were acting within the scope of their authority, course of employment
and under the direct control of defendants.

5. At all times material hereto, defendants acted in concert with one another.

6. At all times, material hereto, defendant Chester County condoned, ratified,
and adopted the actions taken by its sub-unit, the Chester County District Attorney’s Office.

7. At all times material hereto, defendants treated plaintiff in a disparate manner
and terminated him and engaged in other adverse employment actions due to/ and or
motivated by his race.

Jurisdiction and Venue
8. This action arises under federal statues, including the federal civil rights laws,

therefore, this court has jurisdiction of this matter under Section 706(f) (3) of Title VII, 42.1.S.C.
Case 2:22-cv-00004-MAK Document1 Filed 01/03/22 Page 5 of 14

§2000e-5(f) (3), 28 U.S.C. sections 1331 and 1343 and pendent jurisdiction over the state court
claims pursuant to 28 U.S.C. § 1367(a).

9. The unlawful employment practices and other actions giving rise to the cause of
action alleged below were committed within the jurisdiction of the United States District Court
for the Eastern District of Pennsylvania, and venue lies with this court pursuant to the provisions
of 28 U.S.C, 1391(b) and 18 U.S.C. §1965.

10. All conditions precedent to jurisdiction have occurred or been complied with
pursuant to 42 U.S.C. section 2000e-5 generally: a charge of employment discrimination was
dual-filed with the Pennsylvania Human Relations Commission and over 365 days has elapsed
since the date of filing and a charge was filed with the Equal Employment Opportunity
Commission within 180 days of the unlawful employment practice. The EEOC has not acted
within 180 days of Plaintiff s filing. Plaintiff has requested the Department of Justice to issue a
right to sue letter to Plaintiff. Upon receipt of the letter, Plaintiff shall file it with the court.

Factual Background

11. Plaintiff incorporates by reference the prior paragraphs of this Complaint, as
though fully set forth at length.

12. Following a distinguished career as a Pennsylvania State Trooper Plaintiff, Kevin
Dykes, was hired as a Chester County Detective in 2002 and quickly rose through the ranks,
under three different District Attorney Administrations.

13. In 2016, he became the first African American Chief of Detectives following his

appointment by then District Attorney Tom Hogan.
Case 2:22-cv-00004-MAK Document1 Filed 01/03/22 Page 6 of 14

14. Chief Dykes has long complained to defendant, Chester County, about the
inequities regarding the determination of his salary, upon his elevation to Lieutenant and then
Chief County Detective. DA Hogan attempted to rectify the inequities, but the County refused.

15. In November 2019, Deborah Ryan, a Caucasian was elected DA.

16. Chief Dykes made repeated attempts to speak with her but was unsuccessful until
December 10, 2019, when she agreed to his request to meet.

17, The meeting was short. At the meeting, she told him that she liked and respected
him, but that she was terminating him, “because you were a part of Hogan’s administration.”
Ms. Ryan did not raise any other issues or offer any other explanation.

18. Three days later, Ryan met with the Caucasian male Lieutenant, who was also
“part of the Hogan administration.” She asked him where he was in his career, a question not
posed to Chief Dykes. When he responded that he could retire in about 10 months, she told him
she would get back to him. Ryan permitted the Caucasian male to remain employed in the DA’s
Office, with the same rank, salary, benefits, and administrative duties for a full year so that he
could achieve superannuation of his pension. She did not offer this opportunity or even discuss it
with Chief Dykes.

19. When Plaintiff again attempted to speak to Ryan, she refused and demanded that
Chief Dykes turn in his computer, gun, cell phone, keys to access the building and other items
prior to her being installed in office.

20. On January 2, 2020, Ryan responded to Chief Dykes’ request to delay his
termination, which would occur on January 5, until January 9, in that he had obtained
employment at the Sheriff's Office and his position would not be presented to the salary board

until that day. He asked that DA Ryan cooperate so that he would not have an interruption in his
Case 2:22-cv-00004-MAK Document1 Filed 01/03/22 Page 7 of 14

pension and could “mitigate his damages.” As more fully described below, Ryan’s response to
plaintiffs request to mitigate his damages, was to engage in a series of retaliatory actions,
designed to discredit plaintiff in the eyes of his colleagues and new employer in order to
adversely affect the terms and conditions of his employment. She refused to permit him the four
days, claiming she did not have any authority to discuss his employment until January 5.

21. Immediately upon assuming office, Ryan had Plaintiff's email and computer
access turned off. Similarly situated Caucasian employees who were able to transfer to another
department were not denied access to their electronic devices.

22. When Ms. Ryan became District Attorney, Chief Dykes was the only person
terminated due to his association with the prior administration.

23. Chief Dykes was able to transfer to the Sheriff's Office, but his salary was
reduced by $50,000.

24. Ryan then falsely accused Chief Dykes of a crime, that is “unauthorized use” of
his county issued credit card, related to a credit card charge which occurred prior to her taking
office and over which she acknowledged she did not have any authority at the time of the
purchase.

25. Not only did Ryan permit the Caucasian Lieutenant to remain employed so that
his pension would not be affected, but she also elevated the Caucasian Sergeant to Chief. Both
white men held administrative positions in the County Detectives office under the previous
administration.

26. Plaintiff is an employee subject to Title VI/PHRA protections. He is Black. He
does not/did not have policy making authority, he cannot advise the District Attorney as to the

exercise of the constitutional or legal powers of the office and he must be a sworn law
Case 2:22-cv-00004-MAK Document1 Filed 01/03/22 Page 8 of 14

enforcement officer. The Chief County Detective is subject to the requirements of the
Municipal Police Act and must be certified by the Municipal Police Officer’s Education and
Training Commission and attend training yearly. He has powers of arrest. The district attorney
does not have her own personal police force and therefore the chief is not a member of her
personal staff.

21. Defendant County of Chester engages in a policy and practice of ignoring written
policies to benefit white males, while denying the same benefits to persons of color.

28. By way of example, when Chief Dykes complained that upon his promotion to
Lieutenant and later to Chief, he had been denied benefits he accrued while a member of the
bargaining unit, including retaining vacation and comp time, his request for matching benefits
was denied based upon “policy.” In January 2020, the County did not apply the same “policy” to
his replacement, DS, a white male, who was designated as “acting” to permit him to retain
benefits denied to plaintiff.

29. Chief Dykes contacted the EEOC in May 2020. In July 2020, representatives of
the Human Resources Department and the County Solicitor continued to deny that DS received
any benefits due to the designation of “acting.” On or about August 2021 the County
acknowledged DS received benefits as “acting chief” which they refused to approve for plaintiff
when he had requested them.

30. Ryan attempted to justify the disparate treatment by claiming that DS had not
been approved by the salary board. In fact, the position of Chief County Detective appears on
the January 6, 2020 Salary Board Agenda as a full time, not temporary, approved budgeted
position. When Ryan announced his appointment in her January 9, 2020, press release, she did

not designate him as “acting.” In the same, press release Ryan announced the promotion of AC,
Case 2:22-cv-00004-MAK Document 1 Filed 01/03/22 Page 9 of 14

(D.A. Hogan’s Deputy DA), a Caucasian female to Chief of Staff. She promptly submitted AC’s
name to the salary board and the Commissioners approved the promotion on January 9, 2020.

31. It was not until after Chief Dykes complained to the County Solicitor that Ryan
submitted the present Chief’s name to the salary board for approval by the Commissioners on
September 27, 2020. As a result, DS was no longer designated as acting and the benefits long
denied to Chief Dykes were no longer available to DS. Ryan controlled the timing of the
submission and as in the other actions she took, they were all in response to Chief Dykes
complaints of disparate treatment.

32. In addition to the Caucasian male Lieutenant who was retained by Ryan for a full
year after she terminated Chief Dykes, the County “policies” were disregarded to accommodate
another white male, so that he could attain retirement eligibility. By agreement dated June 16,
2015, when a white male facing disciplinary issues requested that he be permitted to remain
employed, the County permitted him to use vacation, sick, compensatory and paid time off
accrued from May 1, 2015 to August 31, 2016, which enabled him to remain on the payroll and
retain his retirement benefits, as well as his other benefits including health insurance, without the
necessity of actually appearing at work or earning the benefits.

33. Asaresult of his complaints of disparate treatment and racial discrimination,
Chief Dykes was subjected to retaliation in the form of a campaign to discredit him in the eyes of
his new employer and other county employees.

34. On January 16, 2020, Ryan sent an email to Chief Dykes’ boss, Sheriff Maddox,
accusing him of a crime, that is “unauthorized charges” on the credit card. The email was

written in red and bold type. At the time she made the accusation, Ryan knew that her
Case 2:22-cv-00004-MAK Document 1. Filed 01/03/22 Page 10 of 14

predecessor had approved the expenditures, which were for professional dues, and that Chief
Dykes had not misused the credit card.

35. After Chief Dykes filed with the EEOC, and after the death of George Floyd, the
County Commissioners expressed concern that civil unrest and protests would occur in the
County. They decided to convene a meeting to discuss and coordinate actions addressing
criminal justice reform and racism. Ms. Ryan was invited to attend along with Sheriff Maddox,
the first African American female to hold that position and Chief Dykes, the highest ranking
African American law enforcement officer, other than the Sheriff, in the County. The meeting
occurred on June 8, 2020. Commissioner Michelle Kichline participated by zoom and praised
Chief Dykes for the work he had accomplished as Chief County Detective and noted that he was
the highest-ranking black law enforcement officer at that time. Ryan also participated in the
meeting, along with DS, the Caucasian male she appointed as Chief Detective and MB, the
Caucasian male she appointed as first assistant.

36. The County decided to form the Chester County Law Enforcement Task Force on
Race and Justice. The County appointed Ryan to head the committee. She promptly excluded
Chief Dykes, claiming that only one person from each department should be on the committee:
however, Ryan, DS, and MB and at least three others from her office were appointed to the
committee.

Sh In July, September, and October 2020, Ryan’s office complained to Sheriff
Maddox about “issues” between their offices. Ryan complained to Sheriff Maddox that there
now exists a contentious relationship between the DA’s and Sheriff’s offices which did not exist
when the previous Chief Deputy Sheriff, a Caucasian male, held the job, Chief Dykes now holds.

38. | Ryan continues to make unfounded complaints against plaintiff.
Case 2:22-cv-00004-MAK Document1 Filed 01/03/22 Page 11 of 14

COUNT I
VIOLATION OF TITLE VII v. CHESTER COUNTY

39. Plaintiff incorporates by reference the averments of the preceding paragraphs as if
fully set forth herein.

40. Plaintiff is African American and as such a member of a class protected by Title
VII against discrimination based in whole or in part upon an employee's race.

Al. The actions of the employer as more fully described above constitute violations of

Title VI in that the employer discriminated against Plaintiff in whole or in part due to his race.

42. Plaintiff was subjected to adverse employment actions, including but not limited to
termination.
43.  Asadirect and proximate result of the discriminatory acts and conduct

perpetrated against Plaintiff by Defendant, Plaintiff has suffered and will continue to suffer
irreparable harm, so that he is entitled to the relief requested below.
COUNT II

VIOLATIONS OF THE PENNSYLVANIA HUMAN RELATIONS ACT
vy. CHESTER COUNTY AND DEBORAH RYAN

 

44. Plaintiff incorporates by reference the averments of the preceding paragraphs as
if fully set forth herein.

45.  Plaintiffis African American and as such is a member of a class protected by the
PHRA.

46. The actions of the employer as more fully described above constitute violations

of the PHRA, in that the employer discriminated against Plaintiff in whole or in part due to his

Trace.
Case 2:22-cv-00004-MAK Document1 Filed 01/03/22 Page 12 of 14

47. As a direct and proximate result of the discriminatory acts and conduct
perpetrated against Plaintiff by Defendants, Plaintiff has suffered and will continue to suffer
irreparable harm, so that he is entitled to relief requested below.

COUNT II
VIOLATIONS OF THE PENNSYLVANIA HUMAN RELATIONS ACT -
RETALIATION v. CHESTER COUNTY AND DEBORAH RYAN

48. Plaintiff incorporates by reference the averments of the preceding paragraphs asif
fully set forth herein.

49. Plaintiff is African American and as such amember of a class protected by the
PHRA.

50. Plaintiff was subjected to adverse employment actions, as more fully described
above, due to his assertion of his rights protected by the PHRA.

51. | Asadirect and proximate’ result of the discriminatory acts and conduct
perpetrated against Plaintiff by Defendants, Plaintiff has suffered and will continue to suffer
irreparable harm, so that he is entitled to relief requested below.

COUNT IV
VIOLATION OF TITLE VII-RETALIATION v. CHESTER COUNTY

52. Plaintiff incorporates by reference the averments of the preceding paragraphs as if
fully set forth herein.

53. Plaintiff is African American and as such a member of a class protected by Title
VIL.

54. Plaintiff was subjected to adverse employment actions, as more fully set forth

above, due to his assertion of his rights protected by the Title VIL.
Case 2:22-cv-00004-MAK Document1 Filed 01/03/22 Page 13 of 14

55. As a direct and proximate result of the discriminatory acts and conduct
perpetrated against Plaintiff by Defendant, Plaintiff has suffered and will continue to suffer
irreparable harm, so that he is entitled to the relief requested below.

PRAYER FOR RELIEF

56. Plaintiff incorporates by reference the averments of the preceding
paragraphs as if fully set forth herein.

57. Asaresult of Defendants’ joint and several actions, Plaintiff has
suffered mental anguish, emotional distress, a loss of dignity, and self-respect,
humiliation, deprivation of income and benefits, loss ofjob opportunities and
assignments and been subjected to unwelcomed notoriety. In that Defendants’ actions
were outrageous and malicious, Plaintiff requests both compensatory and actual
damages in an amount in excess of One Hundred Fifty Thousand ($150,000.00)

Dollars and all relief to which he is entitled by statute including injunctive relief to
prevent continued deprivation of his rights, costs and attorney's fees.

WHEREFORE, Plaintiff specifically requests the following relief be granted as
against the Defendants, jointly and severally:

a. That he be awarded back pay, front pay, reinstatement to his position, and
reinstatement and/or restoration of all job benefits and other compensation, including
compensatory damages, as allowed by law, which damages exceed the arbitration limits.

b. That the Defendants be required to eliminate all unlawful discriminatory
practices and procedures including all racially directed terminations/ and discipline and remedy

all discriminatory effects of past practices and procedures.
Case 2:22-cv-00004-MAK Document1 Filed 01/03/22 Page 14 of 14

C. That the Court order that the Plaintiff s attorney's fees, costs and expenses
of this litigation be paid by the Defendants.

d. That the Court enter a declaratory judgment and finding that Defendants,
jointly and severally violated Title VI of the Civil Rights Act of 1964, and/or the PHRA.

€. That the Defendants institute procedures to ensure that Plaintiff remain
free from future retaliation.

f. That Defendants compensate Plaintiff for past and future pain, suffering,
mental anguish, emotional distress, harm to reputation, embarrassment, humiliation, loss of
enjoyment of life and all consequential damages resulting from their conduct.

g. That this Honorable Court enter judgment in his favor and against
Defendants, jointly and severally, in an amount in excess of One Hundred Fifty Thousand
Dollars ($150,000.00) plus attorneys’ fees, pre and post judgment interest, costs, punitive
damages, and such other additional relief as this Court deems just and proper, and

h. To provide such further relief to the Plaintiff as the Court andjury deem
necessary, just, equitable and appropriate.

JURY DEMAND

Plaintiff hereby demands a trial by jury in this matter.

Res ecthythy submitted/
Urbis Bonu

Dolores M. Troiani, a
Attorhey LD. No: 21283
Troiani & Gibney, L.L.P.

1273 Lancaster Avenue
Berwyn, PA 19312

Telephone No: (610) 688-8400
Attorney for Plaintiff

Kevin D. Dykes

 
